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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


MARVIN H. MAURRAS REVOCABLE TRUST,
and YONGQIAN ZHAO, Derivatively and on
Behalf of ACCRETIVE HEALTH, INC.,

                  PLAINTIFFS,
                                              Case Nos. 12 C 3395 & 12 C 6019
     vs.
                                              Judge Feinerman
EDGAR M. BRONFMAN, JR., J. MICHAEL
CLINE, STEVEN N. KAPLAN, STANLEY N.
LOGAN, DENIS J. NAYDEN, ARTHUR H.
SPIEGEL, III, MARY A. TOLAN, MARK A.
WOLFSON,

                  DEFENDANTS,

     and

ACCRETIVE HEALTH, INC.,

                  NOMINAL DEFENDANT.


      FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE
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       This matter came before the Court for hearing pursuant to an Order of this Court, dated

March 27, 2015, on the application of the Settling Parties for approval of the Settlement set forth

in the Stipulation of Settlement, dated as of February 25, 2015 (the “Settlement” or

“Stipulation”) (reproduced at Dkt. 181-1). Due and adequate notice having been given of the

Settlement as required in the Notice Order, and the Court having considered all papers filed and

evidence in support of the proposed Settlement, and attorneys for the respective parties having

been heard, and an opportunity to be heard having been given to all other persons requesting to

be heard in accordance with the Notice Order,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

       1.      This Final Judgment and Order of Dismissal with Prejudice (“Final Judgment”)

incorporates by reference the definitions in the Stipulation, and all terms used herein and not

otherwise defined shall have the same meanings set forth in the Stipulation and/or Notice Order.

       2.      This Court has jurisdiction over the subject matter of the Actions and over all

Settling Parties to the Actions, including shareholders of Accretive Health, Inc. (“Accretive

Health”) who purchased stock on or before July 22, 2015.

       3.      The Notice of Pendency and Settlement of Shareholder Derivative Action

(“Notice”) has been given to shareholders of the Company pursuant to and in the manner

directed by the Order dated March 27, 2015, proof of mailing of the Notice was filed with the

Court, and full opportunity to be heard has been offered to all Settling Parties and Accretive

Health shareholders.

       4.      Pursuant to Rule 23.1 of the Federal Rules of Civil Procedure, this Court hereby

approves the Settlement and finds that said Settlement is, in all respects, fair, reasonable, and

adequate to, and is in the best interests of, Plaintiffs as well as Accretive Health and its
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shareholders. This Court further finds the Settlement is the result of arm’s-length negotiations

between experienced counsel representing the interests of Plaintiffs and Defendants.

Accordingly, the Settlement is hereby approved in all respects and shall be consummated in

accordance with its terms and provisions. The Settling Parties are hereby directed to perform the

terms of the Settlement.

       5.      The Federal Action and all claims contained therein, including all of the Released

Claims, are dismissed with prejudice as to the Company, Plaintiffs, on behalf of themselves and

derivatively on behalf of Accretive Health, and the Releasing Persons, and against each of the

Released Persons. The Settling Parties are to bear their own costs, except as otherwise provided

in the Stipulation.

       6.      The Releasing Persons shall be deemed to have, and by operation of this Final

Judgment shall have, fully, finally, and forever released, relinquished, and discharged all

Released Claims (including Unknown Claims) against the Released Persons. By operation of the

entry of this Final Judgment, the Releasing Persons, for themselves and their respective heirs,

executors, administrators, predecessors, representatives, agents, successors, and assigns agree to

waive, and shall be deemed to have waived, any and all rights and benefits which they now have,

or in the future may have by virtue of the provisions of §1542 of the California Civil Code and

any other similar law or provision with respect to the Released Claims, which section provides as

follows:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
               WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
               TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
               EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
               OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
               HER SETTLEMENT WITH THE DEBTOR.




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       7.      The Releasing Persons may hereafter discover facts in addition to or different

from those which he, she, or it now knows or believes to be true with respect to the subject

matter of the Released Claims, but the Releasing Persons shall have or shall be deemed to have,

and by operation of this Final Judgment shall have, fully, finally, and forever settled and released

any and all Released Claims and Unknown Claims, known or unknown, suspected or

unsuspected, contingent or non-contingent, whether or not concealed or hidden, which now exist,

or heretofore have existed, upon any theory of law or equity now existing or coming into

existence in the future, including, but not limited to, conduct which is negligent, intentional, with

or without malice, or a breach of any duty, law or rule, without regard to the subsequent

discovery or existence of such different or additional facts. The Settling Parties acknowledge,

and any other Releasing Persons shall be deemed by operation of the Final Judgment to have

acknowledged, that the foregoing waiver was separately bargained for and a material element of

the settlement of which this release is a part.

       8.      Each of the Released Persons shall be deemed to have, and by operation of the

Judgment shall have, fully, finally, and forever released, relinquished and discharged, the

Releasing Persons and Plaintiffs’ Counsel from all Released Claims (including Unknown

Claims), based upon or arising out of the institution, prosecution, assertion, settlement, or

resolution of the Actions or the Released Claims.

       9.      Plaintiffs’ Counsel are hereby awarded attorneys’ fees of $600,000.00, inclusive

of expenses. This Court finds that this amount is fair and reasonable under the facts and

circumstances of this case. Payment of such award shall be made in accordance with the

provisions of the Stipulation.




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       10.     Plaintiffs are hereby awarded incentive payments of $2,000 for each Plaintiff, in

recognition of their efforts in initiating and pursuing this litigation. This amount shall be paid

from the amount of attorneys’ fees received by each of Plaintiffs’ Counsel in connection with the

award of attorneys’ fees provided for in paragraph 9 above.

       11.     Any Fee and Expense Award shall in no way disturb or affect this Final Judgment

and shall be considered separate from this Final Judgment.

       12.     Neither the Settlement nor any act performed or document executed pursuant to or

in furtherance of the Settlement: (a) is or may be deemed to be or may be used as an admission

of, or evidence of, the validity of any Released Claim, or of any wrongdoing, fault or liability of

Defendants; or (b) is or may be deemed to be or may be used as an admission of, or evidence of,

any fault, wrongdoing, omission or liability of any Defendant in any court of law or equity,

arbitration tribunal, administrative proceeding in any court, administrative agency or other

tribunal, or any other forum of any kind.

       13.     Defendants may file the Settlement and/or this Final Judgment in any action or

proceeding that may be brought against them in order to support a defense or counterclaim based

on principles of res judicata, collateral estoppel, release, good faith settlement, judgment bar or

reduction or any other theory of, without limitation, claim preclusion or issue preclusion or

similar defense or counterclaim. In addition, nothing contained in this paragraph shall prevent

the Settlement and this Final Judgment (or any agreement or order relating thereto) from being

used, offered or received in evidence in any proceeding to approve, enforce or otherwise

effectuate the Settlement (or any agreement or order relating thereto) or this Final Judgment, or

to enforce or effectuate provisions of the Settlement, this Final Judgment, or the Proofs of Claim

and Release as to the Defendants and their Related Parties.




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       14.      The Court finds that during the course of the Federal Action, the Settling Parties

and their respective counsel at all times complied with the requirements of Federal Rule of Civil

Procedure 11.

       15.      In the event that the Settlement does not become effective in accordance with the

terms of the Stipulation or the Effective Date does not occur, then this Final Judgment and Order

of Dismissal with Prejudice shall be rendered null and void to the extent provided by and in

accordance with the Stipulation and shall be vacated and, in such event, all orders entered and

releases delivered in connection herewith shall be null and void to the extent provided by and in

accordance with the Stipulation.

       16.      There is no reason for delay in the entry of this Final Judgment and Order of

Dismissal with Prejudice and immediate entry by the Clerk of the Court is expressly directed

pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.

       IT IS SO ORDERED.



July 23, 2015                                        ____________________________________
                                                            United States District Judge




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